Case: 4:18-cv-01629-JCH Doc. #: 80-1 Filed: 03/22/21 Page: 1 of 5 PageID #: 1396

                                                                EXHIBIT 1
Case: 4:18-cv-01629-JCH Doc. #: 80-1 Filed: 03/22/21 Page: 2 of 5 PageID #: 1397
Case: 4:18-cv-01629-JCH Doc. #: 80-1 Filed: 03/22/21 Page: 3 of 5 PageID #: 1398
Case: 4:18-cv-01629-JCH Doc. #: 80-1 Filed: 03/22/21 Page: 4 of 5 PageID #: 1399
Case: 4:18-cv-01629-JCH Doc. #: 80-1 Filed: 03/22/21 Page: 5 of 5 PageID #: 1400
